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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re
                                                            Chapter 11

    Lordstown Motors Corp., et al.,1                        Case No. 23-10831 (MFW)

                                                            (Jointly Administered)
                                          Debtors.
                                                            Objection Deadline: March 18, 2024 at 4:00 p.m. (ET)

      NOTICE OF FIFTH COMBINED MONTHLY APPLICATION OF KPMG LLP
    PROVIDING AUDIT SERVICES TO THE DEBTORS REQUESTING ALLOWANCE
             OF COMPENSATION FOR SERVICES RENDERED AND
         REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
                 JANUARY 1, 2024 THROUGH JANUARY 31, 2024

            PLEASE TAKE NOTICE that KPMG LLP (the “Applicant”) has today filed the

attached Fifth Monthly Application of KPMG LLP Providing Audit Services to the Debtors

Requesting Allowance of Compensation for Services Rendered and Reimbursement of Expenses

Incurred for the Period January 1, 2024 Through January 31, 2024 (the “Application”) with the

United States Bankruptcy Court for the District of Delaware, 824 North Market Street,

Wilmington, Delaware 19801 (the “Bankruptcy Court”).

            PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application must be

made in accordance with the Order Establishing Procedures For Interim Compensation And

Reimbursement of Expenses For Chapter 11 Professionals and Committee Members, entered July

25, 2023 [D.I. 181] (the “Interim Compensation Order”) and must be filed with the Clerk of the

Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, DE 19801, and be served



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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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upon and received by (a) counsel to the debtors and debtors in possession in the above-captioned

cases (collectively, the “Debtors”), (i) White & Case LLP, 200 South Biscayne Boulevard, Suite

4900, Miami, FL 33131 (Attn: Thomas E Lauria (tlauria@whitecase.com), Matthew C. Brown

(mbrown@whitecase.com), and Fan B. He (fhe@whitecase.com)); (ii) White & Case LLP, 1221

Avenue    of   the   Americas    New     York,       NY    10020   (Attn:    David        M.    Turetsky

(david.turetsky@whitecase.com)); (iii) White & Case LLP, 111 South Wacker Drive, Suite 5100,

Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)); and (iv) White & Case LLP,

555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto Kampfner

(rkampfner@whitecase.com),      Doah    Kim      (doah.kim@whitecase.com),         and         RJ   Szuba

(rj.szuba@whitecase.com)); (b) counsel to the Debtors, Womble Bond Dickinson (US) LLP, 1313

North Market Street, Suite 1200 Wilmington, DE 19801 (Attn: Donald J. Detweiler

(don.detweiler@wbd-us.com), and Morgan L. Patterson (morgan.patterson@wbd-us.com));

(c) counsel to the Official Committee of Unsecured Creditors, (i) Troutman Pepper Hamilton

Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, DE 19801 (Attn:

David    M.     Fournier    (david.fournier@troutman.com),         and      Tori     L.        Remington

(tori.remington@troutman.com)); (ii) Troutman Pepper Hamilton Sanders LLP, 3000 Two Logan

Square, 18th & Arch Streets, Philadelphia, PA 19103-2799 (Attn: Francis J. Lawall

(francis.lawall@troutman.com)); (iii) Troutman Pepper Hamilton Sanders LLP, 875 Third

Avenue, New York, NY 10022 (Attn: Deborah Kovsky-Apap (deborah.kovsky@troutman.com));

and (iv) Troutman Pepper Hamilton Sanders LLP, 4000 Town Center, Suite 1800, Southfield, MI

48075 (Attn: Sean P. McNally (sean.mcnally@troutman.com)); (d) the Office of The United States

Trustee for the District of Delaware, 844 King Street, Suite 2207, Wilmington, DE 19801 (Attn:

Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov)); and (e) counsel to the Official



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Committee of Equity Security Holders, (i) Brown Rudnick LLP, 7 Times Square, New York, NY

10036 (Attn: Robert J. Stark (rstark@brownrudnick.com) and Bennett S. Silverberg

(bsilverberg@brownrudnick.com)); (ii) Brown Rudnick LLP, One Financial Center, Boston, MA

02111 (Attn: Matthew A. Sawyer (msawyer@brownrudnick.com)); and (iii) Morris James LLP,

500 Delaware Avenue, Suite 1500, Wilmington, DE 19801 (Attn: Eric J. Monzo

(emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com)) by no later than

4:00 p.m. (Eastern Time) on March 18, 2024 (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that if any responses or objections to the

Application are timely filed, served and received in accordance with this notice, a hearing on the

Application will be held at the convenience of the Bankruptcy Court. Only those objections made

in writing and timely filed and received in accordance with the Administrative Order and the

procedures described herein will be considered by the Bankruptcy Court at such hearing.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Administrative Order, if no

objection to the Application is timely filed, served and received by the Objection Deadline, the

Applicant may be paid an amount equal to the lesser of (i) 80 percent of the fees and 100 percent

of expenses requested in the Application or (ii) 80 percent of the fees and 100 percent of the

expenses not subject to an objection without the need for further order of the Bankruptcy Court.


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Dated: February 26, 2024
Wilmington, Delaware

 /s/ Morgan L. Patterson
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 Donald J. Detweiler (DE Bar No. 3087)          Thomas E Lauria (admitted pro hac vice)
 Morgan L. Patterson (DE Bar No. 5388)          Matthew C. Brown (admitted pro hac vice)
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                                                Debtors in Possession




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